          Case 6:24-cv-00058-RP             Document 8         Filed 01/31/24       Page 1 of 1



                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

BRODTI INC.,                                         §
                                                     §
                Plaintiff,                           §
                                                     §
v.                                                   §                     6-24-CV-58-RP
                                                     §
GOOGLE LLC,                                          §
                                                     §
                Defendant.                           §

                                                 ORDER

        On January 30, 2024, Plaintiff dismissed all claims in this case without prejudice. (Dkt. 6).

Rule 41(a)(1)(A)(i) allows a plaintiff to voluntarily dismiss an action without a court order by filing a

notice of dismissal before the opposing party serves an answer or a motion for summary judgment.

Fed. R. Civ. P. 41(a)(1)(A)(i). Defendant has not served an answer or motion for summary

judgment. Plaintiff’s notice is therefore “self-effectuating and terminates the case in and of itself; no

order or other action of the district court is required.” In re Amerijet Int’l, Inc., 785 F.3d 967, 973 (5th

Cir. 2015), as revised (May 15, 2015).

        As nothing remains to resolve, IT IS ORDERED that the case is CLOSED.

        SIGNED on January 31, 2024.

                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE
